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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 DENNIS THOMPSON,

                      Plaintiff,
                                                  Case No. 22-cv-02243-SPM
 v.

 REVA ENGELAGE, et al.,

                      Defendants.

                            JUDGMENT IN A CIVIL CASE
DECISION BY THE COURT.

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order of March 20,

2024 (Doc. 36), reflecting settlement between the parties, this action is DISMISSED with

prejudice with each party to bear its own costs and fees.

       DATED: June 26, 2024



                                                    MONICA A. STUMP,
                                                    Clerk of Court

                                                    By:     s/ Jo Ann Juengel
                                                             Deputy Clerk



APPROVED:        s/Stephen P. McGlynn
                STEPHEN P. MCGLYNN
                United States District Judge




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